     Case 1:12-cr-00438-LJO-SKO Document 24 Filed 06/28/13 Page 1 of 2


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 4
     Attorney for Defendant
 5   DANIEL OCHOA
 6
 7
 8
                    IN THE UNITED STATES DISTRICT COURT
 9
                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )       CR-F-12-cr-438 LJO-SKO
                                             )
12         Plaintiff,                        )       STIPULATION TO RE-SET
                                             )       COURT DATE FOR CHANGE
13                                           )       OF PLEA TO 7/22/13 at 8:30 am
                                             )       (Previously set on 7/8/2013)
14         v.                                )
                                             )
15   DANIEL OCHOA,                           )
                                             )
16                                           )
           Defendant.                        )
17                                       )
18
           It is hereby stipulated between counsel for the government and counsel for
19
     the defense as follows:
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           That the previously scheduled date of Monday, July 8, 2013 at 8:30 a.m. be
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     rescheduled to Monday, July 22, 2013 at 8:30 a.m. based on the following:
22
           Counsel HART has two matters set in Merced Superior Court on the
23
           Merced Superior Court 8:30 a.m. calendar on July 8, 2013; a calendar
24
           conflict occurred because when the OCHOA matter was scheduled by
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           an attorney standing in for HART for a change of plea, counsel HART
26
           was appearing in Merced Superior Court, setting future dates on July
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     Case 1:12-cr-00438-LJO-SKO Document 24 Filed 06/28/13 Page 2 of 2


 1         8, 2013 for two cases; thus the calendar conflict was accidental.
 2         The parties further stipulate and agree that the interests of justice served by
 3   granting this continuance outweigh the best interests of the public and the
 4   defendant in a speedy trial and that the delay from the continuance shall be
 5   excluded from the calculation of time under the Speedy Trial Act pursuant to 18
 6   U.S.C. §§ 3161(h)(7)(A) and (B)(iv). Accordingly, counsel request that the court
 7   approve the attached order resetting the court appearance for the change of plea
 8   from July 8, 2013 at 8:30 a.m. to July 22, 2013 at 8:30 a.m.
 9   DATED: June 28, 2013                    /kh/ Katherine Hart
                                             KATHERINE HART
10
     DATED: June 28, 2013                   /ks/ Kevin Rooney
11                                          KEVIN ROONEY, Assistant U.S.
                                            Attorney
12
13                                        ORDER
14
15   It is hereby ordered that the change of plea in UNITED STATES OF AMERICA
16   v. DANIEL OCHOA, CR-F-12-cr-438 LJO-SKO, previously scheduled for July
17   8, 2013   at 8:30 a.m. be rescheduled to July 22, 2013 at 8:30 a.m.         Time is
18   excluded for the availability of counsel.
19
20
21
22   IT IS SO ORDERED.
23   Dated:     June 28, 2013               /s/ Lawrence J. O'Neill   B9ed48
                                            UNITED STATES DISTRICT JUDGE
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